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                      UNITED STATES DISTRICT COURT
                   FOR THE SOUTHERN DISTRICT OF TEXAS


Jennifer Steele

v.                                           Case Number: 4:22−cv−00509

Turtle Creek Assets, Ltd. , et al.




                                NOTICE OF SETTING

TAKE NOTICE THAT A PROCEEDING IN THIS CASE HAS BEEN SET FOR
THE PLACE, DATE AND TIME SET FORTH BELOW.


Before the Honorable
Alfred H Bennett
PLACE:        Courtroom 8C
              United States District Court
              515 Rusk Avenue
              Houston, Texas 77002
DATE: 7/29/2022

TIME: 10:00 AM
TYPE OF PROCEEDING: Status Conference


Date: July 1, 2022
                                                        Nathan Ochsner, Clerk
